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                            UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF CALIFORNIA
                                  SAN JOSE DIVISION

APPLE INC., a California Corporation,

                    Plaintiff,

      v.

SAMSUNG ELECTRONICS CO., LTD., a
Korean corporation; SAMSUNG
ELECTRONICS AMERICA, INC., a New               CASE NO. 12-cv-00630-LHK (PSG)
York corporation; and SAMSUNG
TELECOMMUNICATIONS AMERICA, LLC,               [AMENDED PROPOSED] ORDER
a Delaware limited liability company,          GRANTING APPLE’S ADMINISTRATIVE
                                               MOTION TO FILE DOCUMENTS UNDER
                    Defendants.                SEAL (APPLE’S MOTION TO EXCLUDE
                                               CERTAIN UNRELIABLE AND
                                               IMPERMISSIBLE SAMSUNG EXPERT
SAMSUNG ELECTRONICS CO., LTD., a               TESTIMONY)
Korean corporation; SAMSUNG
ELECTRONICS AMERICA, INC., a New
York corporation, and SAMSUNG
TELECOMMUNICATIONS AMERICA, LLC,
a Delaware limited liability
company,

                    Counterclaim-Plaintiffs,
      v.

APPLE INC., a California corporation,
                    Counterclaim-Defendant.




        [AMENDED PROPOSED] ORDER GRANTING APPLE’S MOTION TO SEAL ITS MOTION TO EXCLUDE
                                                                12-CV-00630-LHK (PSG)
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       By administrative motion, Plaintiff and Counterclaim-Defendant Apple Inc. (“Apple”) has

moved to file under seal the following documents:

       1.      Portions of Apple Inc.’s Motion to Exclude Certain Unreliable and Impermissible

               Samsung Expert Testimony;

       2.      Portions of Exhibit A-1 to the Declaration of Casey McCracken (“McCracken

               Declaration”);

       3.      Exhibits A-2, A-3, B-1, B-2, B-3, B-4, B-7, B-8, B-10, C-1, C-2, and C-5 to the

               McCracken Declaration.

       In support of its motion to seal, and as required under Civil L.R. 79-5 and General Order No.

62, Apple has filed the Declaration of Jordan Bekier in Support of Apple’s Administrative Motion to

File Under Seal Apple’s Motion to Exclude Certain Unreliable and Impermissible Samsung Expert

Testimony (“Bekier Declaration”) to provide evidence of good cause for this Court to permit filing

under seal. Also filed by Apple were proposed redacted versions of certain documents for which

only portions are sealable. The Bekier Declaration establishes that Apple’s Motion to Exclude

Certain Unreliable and Impermissible Samsung Expert Testimony and the exhibits to the supporting

Declaration of Casey McCracken discuss and refer to non-public documents and testimony that are

“privileged or protectable as trade secret otherwise entitled to protection under the law,” and are thus

sealable. Civil L.R. 79-5(a). Apple’s request is narrowly tailored to seek the sealing only of sealable

information.

       Accordingly, for compelling reasons shown, the Court GRANTS Apple’s Administrative

Motion to Seal (Apple’s Motion to Exclude Certain Unreliable and Impermissible Samsung Expert

Testimony).

       IT IS HEREBY ORDERED that the confidential, unredacted versions of the following

documents shall be filed under seal:

   Document                                            Portion to Be Sealed
   Apple Inc.’s Motion to Exclude Certain              Page i, lines 19-24; Page 1, line 21-25; Page 2,
   Unreliable and Impermissible Samsung Expert         lines 3-18, 24-25, Footnote 1, lines 27-28; Page
   Testimony                                           3, lines 1-10; Page 4, lines 8-12, 14-19; Page 5,
                                                       lines 2-16, 19-25; Footnote 5, lines 27-28; Page
                                                       6, lines 1-18, 21-28; Page 7, lines 1-5, 7-17, 19-

                                          1
        [AMENDED PROPOSED] ORDER GRANTING APPLE’S MOTION TO SEAL ITS MOTION TO EXCLUDE
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                                            24, 27-28; Page 8, lines 1-3, 7-22, Footnote 6,
                                            lines 23-28; Page 9, lines 1-22, 24-25, Footnote
                                            7, lines 27-28; Page 10, line 1, 7-15, 18-28;
                                            Page 11, line 1-6, 10-11, 18-25, Footnote 8-9,
                                            lines 26-27; Page 12, lines 1-21, Footnote 11-
                                            13, lines 25-28; Page 13, lines 1-10, 1-14, 20-
                                            21, Footnote 14-15, lines 26, 27-28; Page 14,
                                            lines 9-15, 17-19, Footnote 16-17, lines 26-28;
                                            Page 15, lines 1-22, Footnote 18, lines 27-28;
                                            Page 16, lines 2-3, 14-24, Footnote 19, lines
                                            26-28; Page 17, lines 1-28, Page 18, lines 1-25,
                                            Footnote 20, lines 27-28, Page 19, lines 1-9,
                                            22-28; Page 20, lines 1-7, 19-21, 24; Page 21,
                                            line 8, 10, 13-16, 18, 19-20, 23-26; Page 22,
                                            lines 1-2, 11-13, Footnote 22, lines 26-27; Page
                                            23, Footnote 23, lines 26-27; Page 24, 18-28;
                                            Page 25, lines 11-12

Exhibit A-1 to the McCracken Declaration    Pages 1-214;
                                            Portions of charts on pages 1-9 of Exhibit 69
                                            other than the first row and the “Licensor” and
                                            “Licensee” columns;
                                            Portions of charts on pages 1-20 of Exhibit 70
                                            other than the first row and the “Licensor” and
                                            “Licensee” columns;
                                            Exhibits 71-85.

Exhibit A-2 to the McCracken Declaration    Entirely under seal

Exhibit A-3 to the McCracken Declaration    Entirely under seal

Exhibit B-1 to the McCracken Declaration    Entirely under seal

Exhibit B-2 to the McCracken Declaration    Entirely under seal

Exhibit B-3 to the McCracken Declaration    Entirely under seal

Exhibit B-4 to the McCracken Declaration    Entirely under seal

Exhibit B-7 to the McCracken Declaration    Entirely under seal

Exhibit B-8 to the McCracken Declaration    Entirely under seal

Exhibit B-10 to the McCracken Declaration   Entirely under seal

Exhibit C-1 to the McCracken Declaration    Entirely under seal

Exhibit C-2 to the McCracken Declaration    Entirely under seal


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    [AMENDED PROPOSED] ORDER GRANTING APPLE’S MOTION TO SEAL ITS MOTION TO EXCLUDE
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   Exhibit C-5 to the McCracken Declaration           Entirely under seal

         The Court further ORDERS that any proposed redacted versions of the above documents

already filed by Apple shall remain the publicly-available versions filed on ECF.



IT IS SO ORDERED.



Dated:                                         By:
                                                             Hon. Lucy H. Koh
                                                             United States District Judge




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         [AMENDED PROPOSED] ORDER GRANTING APPLE’S MOTION TO SEAL ITS MOTION TO EXCLUDE
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